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                         UNITED STATES DISTRICT COURT

                                 DISTRICT OF MAINE



UNITED STATES OF AMERICA                )
                                        )
v.                                      )      CRIMINAL NO.:1:19-cr-00184-JAW
                                        )
PRANEETH MANUBOLU                       )


                    RECEIPT FOR SURRENDER OF PASSPORT

        I hereby acknowledge receipt of Passport # H8188519 issued by Republic of
India, in the name of Praneeth Manubolu, surrendered to the Clerk, U.S. District Court,
District of Maine, as a condition of release in the above-entitled case.

Date: October 21, 2019                                By:    /s/ Maggie Melanson
                                                             Deputy Clerk




RECEIPT FOR RETURN OF PASSPORT

       I hereby acknowledge receipt of my Passport, as described above, from the
Clerk, U.S. District Court, District of Maine.

Date: ________________                         By:    _____________________
                                                      Signature of Passport Owner
